85-cr-00033-.]GP Documentl Filed 01/29/85 Pagelon

Case 1

:;

,:_:

.

,T:

_F:

i:,,

:

::, v r:f V:`E, :_ __=: _:: : : ; A _

f. ;___,

 

: z _, :, Z_ _ § :_ ,::

.

 

 

evolvin-clascovucc»¢¢¢oo¢¢¢v¢nn¢¢u»¢n¢o

ow\om`~o .h.vvmgmzummn
.~*vo .vwmmwsmmu vmmu
.nwv:~ucou uaw ug~va m»msmmm
ou cowvo:v cowpos w.uL:ou
co vvmmmsmma A~cr m~c:ouv
cowuwwoomwa

om\mv\mo uwumvcu»wm

mw\o~`~o unvdwg vwmu

l»¢¢lo»v¢¢llo¢vlocoocvoc¢¢¢¢o¢¢o.c»¢l

. §.?§

302 z zoGz;w§
.3.z QES§ j? 32
222 §§

~ oooo~ go ~co#mcwgwms
.3 .z -~me :»cuwucv>um omw
w ax<=u~¢ .z<=¢¢oz

"_umc:ou umcv*~¢

me uncomuwmoammov do>v¢ omco*»o

~ `. A~v
~ ~o¢r"mr guam mcwu~vnm
uaw cwuwm uaw ~Lo-ms
vcvuwno +o comumugons~
cl vuhvseou oumuwgo~cm
cv »kume v:vumno ~AFV
~oq~"wr .zu:w mcp~uvnm

cna mcwuw< .vawms vcvuho
mcm~wwz la dwoe ocvuwno
"wu::ou no»mcwegwp
ow\om\~o uuv~mcwELmu ~cmocu»ua
omoea "QH u»a

ua .copmcm£w~:
zz `v>< v:uw~uvccou ovo~ "mvanu<

q ww¢ow@ .¢wo¢z re
nucnvcvvva

§§ §§ 333

 

z¢ mm"w~ wm ow\mr\~o va mm

Fo\mmooocmmo¢u

v mw<a
Fo\m~\¢o »<Hmz:qou mo .
aaa ~ro QHmo aaa

¢wa<zl>|m: ~
vocmnooolmwc¢u

kw~ovuow»wzuoo J¢zmzwzu owx~»wz mzou

 

 

85-cr-00033-.]GP Documentl Filed 01/29/85 PageZon

Case 1

~

::

, _

7

__ :

 

:;::;, __, :_:

 

: .:_ :, ,__,_ ::._: . ,; :;:: z :;. _ ;_ ;. ,_.E,_.

 

 

ouwvm:m »o mucv mca mcwucw» co owm~n >mduv vdn~u:~uxw
.Amw\ o\mo n ~¥ov zzm¢ ww¢=»V Ahccw@uz
.q uawxv .vuc¢~mc oqu gmcowgv co ~cmv=v*va .vsm~
mcmo:u~xv pu< ~mwgw >nuoaw op ucm:whaa mcmucw» mvx~e ug:ou
.mco»poz v~m» ow mw¢m~cm dw~c: mms »¢~v:v»vo .ccv¢
wmu:q upo»vnv x< om"o a mw\ro\qo Lo» von mcmg~vc m:p-w
.Amw\mo`no
P§S §§ 325 m.w=o.$o___ t~=.:=.s£a m¢.;.c § ..>._.Z
»o cowwco~x~ ¢o* ucmuco*uu >nv A~a»ozv vouc~gm cow~oz
.Amw`mo\mo v.u¥ov udag mcwh~v; m:~m»m mw\¢o\mo

.Amw\w~\~o u.wxav A.wvmc:ou uvcwmuvL w<v

ucmvco*un Lo* >vcho-m wm w oz<xu~m z<:wmo: *o oucmgmvaa¢
.Amw\w~\~o u.uxav~h.~vmc=ou uvcwm~oh

c¢ou~m wm am <° zu~>o¢ *o ouc~h~vao<

.Amw\w~\~o o.~¥ov .uum dww¢u »uvvaw vac: m~¢mwh »o gu>m~: 1
.Amw\w~“~o

v c a co mg c co war ga m l
§§ mmw°m¢ :..MYB.. .sw.~z%@~moz.:_smy wi as

m<V u:mvcv»uv Lo* xv

.G@;~\~Q ?§e 1252 b~£._:...a.€:c §
xi t S.;._B: § §§qu § area B:,, S.z£ £:~§
.§R:~Q ?z v §§ 533 25 .S-.I s mccree
v~mv ou ucmucv*vu cw~uv&ma .z< own m mw»¢cm co mcwgmo;
m:um~w m Lov vacuum ou wkukm cmuuvgwav uvdw* gou¢o mw`-\~o

.»mm`mr\~o v.ux¢v »zzw¢ wwazqv
A~xum¢~n¢x .Q "n~¢v .~u~c~.c owcp .~comgvn co ~c~vc¢»vo
.mcow~os vdm* op mmc¢¢m dw~c: mmc ~c¢u=v*va .cc»¢

vmv:q ~Lo*vav z< anna n mw\¢o\mo Lo* uaw chkmo§ w:-um
.mmw\mr\~o u.p cv hzzm¢ wwanqw mcompwucou

apwu vuc-wc cong #~cowhv co oow¢v~vk ~=~ucu»¢u guvLo
.Amw\m¢\mo n.~xav nzzm¢ ww°:qv n.vuc-mcmouug .~cowgua

co um odv“ gov ~cmncv»vu >mv hra»ozv uv~cmLm co-oz
.Amw\mv\~o n px v A.vuc-mc cook ~mcomkoq co vw~v~vh

gov uc~u:v*wu nv Arawozv ~L:ou cvao =W none comuor
\ .Amw\mr\~o

v.~xav A~¢ m»c:ouv >udwam ucc »o noia mkv~=~ “c~uc»+va

. mw\m¢\~o u.~xav vuc~h~vga~ pwng w.~c~nco»v¢

. `mr\~o u.~¥av dowc:ou ;~r: mgmvan~ yca cv*vo

w\mr\~o n.~¥ov A~¢F wpc:@uv vdvg payee W~LL< mm\vr\~o

.Amw`~o\~
u.uxav z zhmzz>zw `m<<zmqooz >vcpouum »o oucmgmowa<

.G£§~Q ?§3 5 tom$£ ..
.£:2~¢ umt_€ zzwn_ §§ 3 E,a$m~ 33
xov h dmcw who >L:w vcm“ov ucvz~uwvcw oudwm mw\o~\ro

wmz~awwuo¢a

mm\mo`~o

l

A

.Amw\ro\~c v.~
awazzl>lw: .

roommooo\mwl¢u ronmmooo)mwvzu

~ mw<a
4 ¢ ~F: a~xw mm\m~\¢o A<Hmz:;ou mo .Fm~ovuom»m¥uoa J<szqu owm~ww¢ mzou

 

 

85-cr-00033-.]GP Documentl Filed 01/29/85 PageSon

Case 1

 

: ;_

_: ;

_:_

:

:

;,», ._ _“»_ ;r_, -_ :§_ iv 2a :`» _ t V,:;; »_ __. __. ; v_

1211 :., ,~: __

 

 

.Amw\-\¢o
P»%V 22-2$ 5 >P_Sz 2 ix mm;:.a 5 mith wl
v v +o nomgva vdnmuaduxw dmw~cvwo m *o mcwccmnvn way ¥L~z
.hmmm-`¢o u.~¥ov A.wcomuos vdwv ou cuw;: cm vswv
vo waveu Lm~cu homv nmuwozv oo~w» wcusch>om >n cowuoz

.mmw\oo\¢o u.y¥ov mw\ro\¢o
\mo co ca up vucm:cw#cou »n um>hvw

co vance new mm\o~
wuw~w:m +o wvcv msu mcwucm» co comma »~duu v~n~u:~uxw
.~mw\oo\¢o v.u¥¢v mw\o `mo co uovco uaw mw\m~\mo co
cmmon mcowpoz ~mmh~uhm co w cwg~v; ou van >mdvu odnmu:duxw
.~mw\oo`¢o n.u¥av mw\¢ `mo co cowan vcm mm\-\~o co
canon mcomuo: dmwgpvgm co m cmgmvz op van >mdun o~nmv:.uxm
.Amm\~o\ro
o.~»av A»mmlrcm co www»oz oh chv mm\ro\¢o co mcrug~uw mhx
va v ve vomgv u~n~n:duxo d~w»couo m *o mcwccwmon usp mez
.Amw\~a\qo n ~xov n
m xw .~¢oaa:m cm and wo soucaLoeuz .~cmvcv+vv

d w.m`< 2 92
mv A~l¢ w~c:ouv h¢a»ozv nvdm» uucuvw>o mmvhan:m ou cowuoz
.GE~O:O P§e §§ 33 V 25 .9:$~8:
vcmu:og op umep:m op ~c~ucuvvn cmuuukrav nudwv govgo
.Amw\~o\¢o o.~xav Azzmm wwo:wv A»ccwwuu
.= "nv¢v .oucm~mcmouuh dmcomgon co ucmucvvuo .mw¢-»¢ a
mcowuoe ou owcoamuL udmv op ucuecgv>ow .ccum umv:w vLo»vn
mc¢gmug mcowuozv z< oo"o¢ m mw\oo\mo gov uaw mcmgmv¢ m:u~uw
.Amw\~o\¢o u.wxov cans mc¢kmo; w:u~uw

.hmwmw~`mo o.uxov

23-£-» § 35§_ 3 53 £S~§ 8 5 35 E-x
oa>u *o vo¢¢va v~n~v:dux~ ~mwucvuon m *o mcwccw on uaw ¥gm:
.Amw\-\mo u.~xnv Azzmm mma:wv h.vem~ »o comwcv-v
Lo* ~cmucu*vv *ov Amu»ozv vu»c~» vu¢~:cm~cou gov cow»o£
.Amw\-\mo v.pxov Mzzwm wwnswv n~zv
.§ § § §§ 2:.:22 2 z§m§ § 135 §§
soh* vew~ cwo:~u~v mcowuos v~w» o mw¢r¢¢ op vsw~ wo
comucv~xu am Lo+ ~cmvcu*on *o com~oz cwucmhwv ovdm* gougo

.Amw\o~\mo
w l o co z vL c co mcF go m c
u.vuww M%mmowmvm v.pww»*wxu .m¢WWWme\W~MWQ@¢W=¢W¢WQ W£HW¥W~=
.Amw\o~\mo u.v¥av h.vew~ »o cowmc-xv Lo»
comuoe uop-:n¢~mv Amawozv vu~w» vucm:cwpcou ho* camper

.Amw`mr\mo v.»xov
v .mwl ~cm »n wcow~oz ud~» ou u:~ucv»vo
F¢¢ co cwhnvg m:»mym mcm-umv ovdmv gauge

.wmw\mo\mo uw»¥av mw\ro\¢o
co vvvcu ncc mw\¢o\mo co cm ma vucw:cwucou >n uv>gum

wwzaawwuo¢a

hzzwa moo:wv AAz
.z< anna wm mms

¢wo<zl>cm:
wolmmoooamw¢¢u
m mw<m

“1# ~FH oH¢w

mw\o¢\¢o

mw\vc\qo

mw\o~\mo

mm\m~\mo

mw\mr`mo

E-KSO-£-S

wo\m~\qo Ac~mz:qou mo .meovuow»w¥uoo A<zH£qu waHPm¢ m:ou

 

 

 

85-cr-00033-.]GP Documentl Filed 01/29/85 Page40f9

Case 1

 

_,¢_:

;,:_,1.:_,1 :: 1 _: ,.;_ _ § ; 1: : __ -;:_ :_ ,: ; _,: _, :_ _: :_ § ; : :_ ;_.

 

 

m.pcvec¢o>om op wmcoawwL m.ucmvcu+vav A<n»ozv s mw\F~\mo
.hmw\¢r\mo
n.~¥av A.ucwzc¢v>om >n E:vcmhoews ~mucvevwan:mv Aqapozv
vucvuw>o mvana:w op cowpoe ou comumwoa o c¢ e:vcmhozvz mw\m~\mo
.Amw\mo\mo n wxov zzw¢ wwa:qv hhccwouz
.w unvxv .vuc-mc ouvL gmcowgv co ucmucv»oo .ccoa
§§ tate § 35 m £\BBQ § § m£._~£ §§
.~mw\oo\mo v.»¥av mw\~m`mo co nancy nc~ mw\ro\¢o co
cmmvn mcow»oz ~mw¢uu¢m co w cw¢mog op v:v »m~uu u~pmu:duxw
.Amw\mo`mo u.~xov
hhmw¢~¢m co wm>o<»oz op cH c»~»-w mix

co

vn>~ »o vowgwa vdn~u:.uxv J~Wuwwuwm\wowwomcwccwmop nga xk~z
.hmw\oo\mo n ~¥¢v A.ucmucovuu >mv

Aano:v u:vevmw>vm &ouc: cvxm~ vucvmw>v mwvuaa:w op cow»oz

.Amw\oo`mo v.u¥av udag mchmvz w:wm~w mm\~o\mo

.Amw\~o\mo n.u¥ov~nzzma mwa:wv hsz .mvum>bom dmwpumha
~d~u op .uwc:ou uaw mu~mum uvuwc: v=u cm »oc mm »c~vcu»vu
caps domc:ou ddmu ou ucmvcvvoo mcmuu¢g¢ov uo~w» gauge
.A w\~c\mo n ux v Azzmm wwo:=v AAc:mwuu .w navxv
.vucm~wc ouvg imco go co ucmocv»v¢ .cco¢ o uaw ago*un
mcwb~ox wcow»ozv :¢ om"o m mw`~o\mo go* won mcw¢mug w:u~um
.Amw\~o\ o u.~xav Azzmm wwo:wv
A.»c~ocu»vu *ov noavozv ov~c~g vucm==m~cou ¢o» cov~oz
.nmm\wo\mo v.u cv A.ucmvco*wu
»mv hou»ozv oucm:cr~cou gov uL:ou cv o cm acme coruoz

.AWEBBQ Pe_e 32 size §§ SBES

. .Am \mo\mo n.~¥cv
Azzw¢ wwazev AAccmwuz .= nav¢v .com»~poL co vu:cwpcov
~c~ncv»uo .ccvm munoz vgovua cow~mno@a wo cop~wdow>
co mcmL~vzv z< comer m mm\mo`oo ou voncwpcou cwkmvz w:umvw
.RSB§ m.§$. h B._s»..: _2_~ §§
cowumnoLa »o cowuodom> co chmvxv udv; mcwgmv; m:~mum
.Amw\mo\mo n ~¥ov usa om»~w~mxw
.mvana:m op cow~oe w.ucmccv*uv va ~Loma:m nw +uWLp d va l mw\~o\mo

.Amw\mo\mo v.»¥av mw\om`¢o co uovcv ucc mm\or`¢o co
cmmvn mcowuo: dwm¢~v¢m co m cm¢wvz op van >m~un odnwu:~uxw
. m \m \mc
Pe§ 253 333 GEQE E:cfm ~S___c._v>ow mg mo.$oz
.Amw\wo\mo kuxav Azzmm mmm:nv AAzV

.uc:~ oha uc:c -c~ucv*vu *o mc Fvoe op mvwco mug v¢w*
ou ~cuchv>om »o* mw»¢~»¢ ou navy mcwvcvuxmv vv~w» kovac mw\om\¢o
.Amw\vo\mo u.~xav M.w»< wh~m~zxw .~cuechv>om >mv Aqnhozv
ou:uvw>v mmvgn am op covvos op co¢~mmonao cm E:v:~Loevz mm\q~\¢o
moz~owwuox¢
¢wa<zl>ow:

5-§3-3-5 5-£@3-£-5

q mo¢a
Nrw a~xw po\m~\¢o A<Hmz:¢ou mo .Pm~ovuow»m¥uoa J<sz~¢u awe~»mm mzov

 

 

:__

85-cr-00033-.]GP Documentl Filed 01/29/85 PageBon

Case 1

 

2 _: ,

.

;: _ , ,_ ::, : __:__ _ ,_,, ;__;__ ,_

¥_:; ,:,,_;_:A,

::

 

 

mmogan:m op coFuoE co mchmwxv udag mcm¢mvc m:~m~w
.Aow\~v\~o u.pxav A.mc¢gmo; wcom~ozv wing mc¢~mv£ w:-~w ow\o~\~o

ghom\ov\~o u.~xov Azzwm wwa:vv
AA;uwu:va . uno¢v .ouc-~c oqu dmcowgva co wcmvcvvvo

.ccmm v use w¢o*vn mmv¢ma:w ou copuoe m. cmucv*uo co
m=t$§ 2235 § 03 m £B:~Q § § 532 §§

.Aow\cv-o n.-ov vaca mcmhmvz m:~m~w ow\~o\~o
.how\-\¢o n.p¥ov A.ccvm vmv:» vgo»vp mcwhmw;
mcompozv z< oo"or m ow-o\~o op pum~L mcmanus w:-pm om\~¢\ro
. .w cosa m m
mmvgaa:m op compos *o ppcaa:%mmw~k»mw~mmwwnvdmwwvevd awm o mw\ov\~v

.Amw\oo\~r o.v¥ov »zzu¢ wwm:~v Anzv .mucvevumww mwohnn:w
o~ copuoe co m:w~:g co : gmcpw vacuum dam;m van ¢vv¢o
c

:EI m § 3-~»$ ,S ._~Eo . .5=$ 523 35 ;_Eo £BE~F

.Amw\m¢\¢r u.»xov

r\rw.:o c~HLm»w mix

*o ocwccwmon nga xg~z

n »¥av A.w~cvsv»-m

o»wu co whomko dwcw*

v uchcgu>o »n cowuo: mw\mr\vv

.hmw\mr\~r
o.uxov Azzma woa:wv AAzVV h~lv muc:ouv cowcwao E:ucmgoev£ mw\q¢\¢¢

.me`mo\vv v.v¥av Azzmm wwo:wv n.~c~vcu+uu vov haukozv
ppm cm nvmcon "ugma cv voucmL vucvvm>v mmvgaasw op cow~oz
.hmw\wo\¢v v.~xnv
Azzw¢ uwo:»v Asz . om.vn ou vu~v m co upon d~¢L~ m umw
ou van mucosopmum wmog now ou cow~oe co mcwgmoz mcwd:ov um
*o umon¢:n how havana ou wvmugma mcmuuo¢»c .mvaa am
ou serves *o Lvucwmev¢ mcwpc~@w .»cmghm: nw »~wg~d:uw~L~n
news vvnmhuwvv mem m wwwpaa:w ou comuoe mc¢»cvo .mwv¢aa:w
ou cow»oe ugma cw cm>cou nco uLma cm mcm~om¢w~ vv_m» bunge mm\~o\v~

.hmm\w~\oo u.~¥ov Azzmm wwo=»v noccwwuz .» unv¢v .c:v@
v uaw vho*vpv z< anna m mm\mo\wo Lo* you mcwh~v; m:-~w

,nmw\wr\oo
u.uxav A.ucumvga ucc ucmvcu+ucv vamc mcwgmoz m:umum mm\~r\oo

.Amw\wr\oo n.~¥¢v mm\oo\oo co vvucu uaw mw\»o\mo.co cowen
~cuevmw>um chc: cowuos ~cmvcv*vv vdwsz ~va o~nmu:~uxw mw~oo\oo

.nmw\¢~\mo v.w¥av A.mmogan:m
op cowpoe wsp o~ com~wwoaao cm E:vc~kosos .m~cvzv~aa:m

mmz~awwuomm

hhmw¢wr¢¢w co >wwhoz oh c~vv mw\
un>u *o vomgu udamo:~uxv dmm~couo

.Amw\o¢\r

cum vucouw>v mmv¢an:w op campos m.uc~u

d

w
m
k
usa v~muwdomcou ouv A~nhozv nw m

zwa<z.»lw: .
roammooo:mw»mu Fo»mmooolmw)¢u

m ww<a
¢=‘ NF¥ a~mw Fo\m~\¢o A¢Hmzzqou mo .hm~avuow»w¥uoo J<szqu aw¢~Pw¢ mzou

 

 

85-cr-00033-.]GP Documentl Filed 01/29/85 Page€on

Case 1

______

___ _______

_____

____

___ __ _____________ ___ __ _ __ ___ ___ _ :.___ __ ____ __ ____ ___ __ __ ________ ____ _______ __ ________ __ __ _____ ___ _

____ _____________

 

>n _mw_~ gov .wvwv »n_ horahozm wL:ou cone cm anne co¢uoz
.Wow\qo`oo n.vxav ow\-x~o
co umncv uaw ow`o~\mo co co va vuc~:cwu:ou >n nv>_vm
vuw~m:m »o mvcv way mcmacw* co uvmmn >m_vu w_nmo:_uxm
.Mow`¢o\oo u.u¥aw Azzmm mwa:q_ A._QWL»

ve vucm:cwpcou Lo+v ou»ozv ou»cm_ oucm:cm~cou Lo» copper
.M£:EB PSS 335 § 8§=$=3
_o» .u>oo nv hoapozv vvmwv vuc¢:cmucou Lo+ cowuoz
.Aow\¢o`oo v.uxav v_w; mcw_mvg m:um~w
.Mow\¢o\oo
u.~xov A.~cmucm»mv >m_ A~i¢ m~c:omv _~WL~ >L:. »o _o>mm:

, xow\o~\mo

u.~umv hxowiori co ommwoz am chv om\o~\mo co mcr»_muw mix

v w »o now_v v_nmu:_uxv _mw~cvpo m mo mc»ccwmvp any x_~z
.now\ow\mo u.pxo~

A.~cms:go>om >mv Amn»ozv uomw* uucm:cwucou Lo» cowvoz

.xow`o~\mo u.»xav .s:nc~_oevz i

.Aow`mrxmo v.~¥¢v ow\mw\mo co cuneo uaw mm\ro\¢o co

canon mcowwoz _~W_~o_¢ co m cw_~os op von >m_vu v_p~v:_uxm
.xom`mw\mo v.~xa_ zm¢ mw¢:»v

x.~c~ncv»vu »ov anho:_ vomcvv vucuvw>u wwv_ am ou cowuoz
.xowxm~\mo o ~xov Azzmm mm¢:qv hamm .w~cusv»-w

wmv_a am ou pcmocv*wn *o compos mc» cong uv_¢* _~u_o

.Aow`oo\¢o v M¥¢v Azzmm mooney x»gum avc

.= "aumv .vuc»~mcmouo_ _~:om_w co ~c~ucv*ua .c:v¢ m use
w_ovvmv A~ir wpc:omv z< comer m ow\w~\mo gov va nunn _mm_w
.§32.5 ?c_e 33 5k2 §§

.how\oo\¢o

v.u am hxmwivim co mmmhor u_ chv m »Fo\¢o co mcre_¢~m mix
va v +o vow_v v_nmu:_uxv _~w~cu~o m mo mcmccmmvn uaw x_mz

.Aww\ro\¢o um»x¢v ow\or\mo co umocv van ow`wr\~o co cmmvn
ucc£vmw>o Lvuc: com»oe pcmuco*un v_ms: m_uu v_amo:_uxm

.how\ ~`~o v.~¥av
~xowio~i~ co mm>¢<#oz oh chv om\or\~o co cpu»~um mix
mn>u ve vom_wa v_pmv:_uxv _mmucvvo m mo mcwccmmun usa munz
.Ao \mw\~o n.~xav
hzzmm mma:=_ xhgum~:vc .x nau¢v .mucm~mc owcp _mcow_ua
co ucmncv*ua im~cvso~m~m mmc_nu:m op pcmvco»uu >av
Aqa»o:v ucmeuwm>um _vu:: cv¥- wucvnw>u wmv_aa:m op co¢uoz
.Ao»xm¢\~o
o.»xov vvcvaov_ Aqxho:v ouconm>v mwv_aa:w op copuoz

.Sf.m:~@ ?:e 325va $5.§3“

wwzHommmozm
xma<zc>im:
voimmoooimwi¢m
o mw<a

ow\o~\mo

owxwm\mo

ow\or\mo
ow\ov\mo

ow\mv\mo

ow\~o\¢o

ow\-\mo

5-»33..£-5

ro`m~\¢o A<me:mom mo .Pw~avmowwwxmoo m<z~z~xm oma~wmx mxou

aaa NFJ emma van

 

 

 

_ ~

85-cr-00033-.]GP Documentl Filed 01/29/85 Page 70f9

Case 1

____ __

_____

__

__ __

_

_ ____

_ ____

 

_ _

__ _ ____ _____ _____ ____ ____ _____ ___ ______ _____ __ ____ _ __

 

__ ______ __________ __ _____ __

 

 

. »Niv wu::omv Am~npoz_ uu_wv vucwvm>m wwv_na:w op cowuoz
. o mm

~»vu _o» _mwc:ou mm_ QH><Mownwm»wm wwwwwwwwmmwmwwcw_mvua<
.Aow\mo“wo v.uxov x.u»wv _o» _vwc:ou

wm mw\-\~ mo wmv mhwm<ruH¢ z<mmmox *Wc“opwm mouwwxwwmwma¢
_mmcv_ooz .: cumcc»:ww“mo“mmmwmvumw mzu»mmw:mwv“um: uv_¢v

mawvvm_mv mmmu Eo_+ nvuv_vv z x»mzz»sw ~¢<<zm_ooz »vc_ouu<
.hom\mo\wo v.p¥¢_ A.wcowumo:c

w_»a _wo> numoao_m m.u>owv u_mo _¢o> vu~mv:co_ m.ucvec_v>ow

.Aow\¢o\wo u.~xo_ m_mu
.Aow
cm ommm:_a_:m _mmu_n:~v_n vx__u

ow`w~\~o

_mo> uvumv:uv_ w.~cmucw*uc ow\m~\~o
\No\wo u.ux¢_ .~cospuwucw
m ou cow~oz op co_~_woaao i
o .Aom\~o\wo u.u¥a_

A~Fukozv ucwew_ cm cow~oe w com»wwoa

v.W__W __Qm
o
n

0 Cw ESUCOLCEU£

._@w__m_~@
_-_m co ___»o= ¢_ ¢___ o _-_~O co m=,__-m mix
om_u v_nmu:_uxw _~wpcv~o m »o mcmccmmvn uaw ¥_m:
._@w__m_~c m.__¢_ _.~_° a=m
Evz ._mm_v~as nv~¢um usa ve ama cwv_om~_ ucmsw_
xa_ _~-_ m_==ou_ _~___o=_ vv___ ~=_E__ ¢_ ¢o_~oz

. w .~ o x cop~u:_ mc
»L:w numenowmw“mm“wmvwmawmw Mc Wuw:_wwcw.>_:@~vvwwm

._@w \_o v.__a_ _._
_o_ .~>ow ___ »o=_ uv___ v

x
x
. ~ a co m cv cm co cmmv
____Wm_wm>m_ _vwcww_w w _=~m=w_vuu~__mw__m_ww v_ mv,_m_w
o
~

ow`¢~\~o

cv E:nc~_

cm .v»v ow\-\~o

ow\m¢\~o

o
NmLu wo quNDcquQu
ucm:cwucou gov comuoz om\¢w`~o

.x ~\oo n.~xo_ _mguw_:vc .x n v¢_
.Qm~iwom mommm_ ow`or\ o» mmc¢uuvuo_ »o pnw_umc~_u uv_mm
1 mw~mmo uuwxov »Azuw soo ix "awzv

_ =_v

uuo_a *o v m_umc~_~ uv_wm om\ov\oo

. w
x~iF mpc:omv mcowuu:_~mcw »_:m vvwoao_a Mwm“whhwm>wm www_m

x~i¢ wuc:om_ wcow~u:_umcw >_:M vvmoao_axmmwwwwmmmwm~wwwWm

. @w_ Q_o
v.__¢_ _zzm¢ mma=__ ___um_:~a .r "av__ .m%uv__._yw
.__~¢_ _~i_ m_=:ou_ =< cono_ m @m_-__o ou _»mw_ gunn _~__»
.S»\No§_ Pt_€ ___sz mm_____,_ 358 3 _£.:.
how .»»vv n_ hornwozv ucmeuwm>cn _vvc: coxm~ coruoz
._Qw__o_oo u___o_ _.~_3@_

wwzHcmmuo¢g

ow>rr\oo

ama<zl>iw: »
¢oimmccoimwimm rolmnoooimwl¢m

w mw¢¢
ii ~Fz o~xw :Wo\m~\<c A<Hmz:_ou mo .Hw~a_mawwmxmoa _<z~z~zm amm~hmz m:ou

 

 

85-cr-00033-.]GP Documentl Filed 01/29/85 PageSon

Case 1

 

_ »

_____

_____

____._

_____

____

___.___

__._

_____ _ _ __

_____ _______ _ __ _ r________ __ ___: -_

 

__ ____._

 

 

.Aow\mr\oo

v.ux¢_ A.cuummcouvc ex com~oe m.p>ow op cowvwmoaao w.»»vo_

horuhoz_ pcweccw>om »n cow~oe op cow~mmonuo cw E:vcm_oeoz ow\_r\oo
.Aow\~o\oo o.~_¢_ x.ucvzpuwvcw may vumpmcwvc
co cwvwmcouvc o~_ xevx»oz_ uo_w» ucvsccv>om >n cow~oz ow\@~\wo
. ow\¢v\wo u.uxa_ xxmvm~:va . nav¢_ .oo ;m:o_c~
w mm ~¢_ ow\o~\~o co_ w cmvmvuo_ *o pnm_uwcmc~ uw_wm
. owxqr\wo v.uxav Axmuwp:va . _av¢_ .¢o ¢m:occp
~ mo ~c_ ow\om`~o com w cwov¢uo_ *o Pcm_umcmc~ uv_mm ow\oo_wo
. w co v cv cm co
cowan Mwmwwmawmmwvvwmw wm\mmwwmmoc wpuo:nv»m_wm\wmmwm:_uxm
. v co a cv cm co
=~mv_ _____®___~W_,w__ _w_mm___~v_ W__v,v__~__m_mm__w,_u_w
. v a co a co ca co
cmmvn Mmm“ww»mmmw»~ucw mm\mmh%m‘uc w~uu:uo>m_wwxwwmmm:_uxm
. ~ co v cu cm co
amoco _________~___W__ ________~»_ w__»,u__~_wm_w____,_uxw
x.ovmcm¢umwu .p»vc .ovwmmemMwwwwmwwo.wwwwdwc%uzwm~mwmwmw
mmwemwn op cow~oz_ A~iF w~c:om_ campos w.~c:ou co ovmmmswwc
. o \o w
n.wxo_ xzzmc mm nw_ Ahcum~:va .z navm_ .uum_~cummnmm_w“:m
v>muumamocc .vv c~cumwu .~*vo .uvmmwewwv vw~m .uvu=_ucou
ccc owc:mv_ mm»emwn op cow~oz_ u_vc mcmc~wc w:~m~m ow\om\~o
. 0 \o \w v uxo zzwa
moo=<v hxcuw~:vo .z unv¢_ .mouv_ Mcwa @p*wn ..vvwm mo v
A~iF m~c:om_ z< oo"rw m ow\om\~o op umcc:omn~ _~mcu csx
.now\oo\wo u.~xov A~i¢ muc:om_ >c:wiv_vz _mwch
.Aow\oo\wo v.u_e~ A.u~u_amvc nco
c:mvn cow~uv_vm >c:w_ A~ir muc:om_ >_:.imcwmva v_wn cwo>
.Aom\oo\wo m.~wov Azzma mwa:=_ _.~cvzvm_>vm
_wuc: cwx- uc~ ucwz_ xmr ¢r mr w nw xv pcvevm_>u~ cvvc:
cv¥m~ uaw ~_-~m:uu *o uccemn:. co+ ~ocwzw_ cp cowuoz
583wa __.e_e __.__3 5 _~
i~ w~c:om_ Am~uhozv vvww» _m~uw: um »o ~cvc ma. co» cowuoz
.xow_oo\wo u.»mo_ A. cw_mvz mcom~o=_ o_»c mcmvc »:~muw ow\a~x~o

h.~coau:
_mwum

3 ___ ____
C

.,.i..i.`..

m w sum »o e:vcwcoev: .ucvspuwumwmhwowmmwwwwumw

_5 ma e__bm 3 53 § $:_S___ usc §§

___~_ 5 §§ t _____ __ §§ 5 mcmwwm__m__wm

ow_vw v_nmv:_uxv _mw~cwpom m mo mcvccmmvp wcwaxc~z
. . .._o _._

_ 3~_ _o _,_c~_o_~_ .vu=_W__wo_ww_W_W___ _____ ___

wwzwammuo¢a

c
m

¢mn<zi>lw:
.woimmoooimwi¢u Foimmoooimwixu

Fo_m~\¢o _<Hmz:_om mo .Pw~__m¢m»mxmoo _<z~z_mm am¢H~m¢ mzom
~Fz Q_mm %“¢

 

 

Case 1:85-cr-00033-.]GP Document 1 Filed 01/29/85 Page 9 of 9

 

______

_________

____

______ ,_

___ ___

_..___.___ _________ _ ____ _____ _. __ ______ ___ __ ____________ __ _______ ______ _________

 

 

_v_uon _o u=m

o¢cc¢'al'o¢oanon¢¢o¢ou»oo¢¢olu»o¢cu¢o¢¢uv¢¢ol¢¢¢l~a'oo¢c¢onceloc¢c»|¢»~»ol.¢l

.___._w::~_
_:e_e 223 333 G:_S§ 823 ___________v>o __ §§

._@w_~__~_ u.p_a_ _zzm¢ mma:__ __zw=.¢o__~_¢v_m¢ouw_

cow ~cv___c._v>om ve co.$o___ ;cw_uv univ ._vu._o ow\.-_;

mwz_omm_o_¢
¢m¢<zi>iw=
_Qimmoooimwi__ _Qimmooo-m@i¢u

o mw<¢
vo\m~\¢o A<Hmz:_ou mo .Pw~avmgmwm¥moa _¢zmz~xu oma~wmx mzou
aaa Nwo onw ann

 

 

